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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                         MDL No. 16-2738 (MAS) (RLS)
   TALCUM POWDER PRODUCTS
   MARKETING, SALES PRACTICES,
   AND PRODUCTS LIABILITY                           THIS DOCUMENT RELATES
   LITIGATION                                       TO ALL CASES

   THIS DOCUMENT RELATES TO ALL
   CASES



       PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR
  RECONSIDERATION OF THE COURT’S MARCH 27, 2024 TEXT ORDER
          FOR A FULL REFILING OF DAUBERT MOTIONS


        PLEASE TAKE NOTICE that, at 9:00 a.m. on May 6, 2024, or at such other

  time as set by the Court, Plaintiffs, by and through the Plaintiffs’ Steering Committee

  (PSC), will Move for Reconsideration of the Court’s March 27, 2024 Text Order for

  a Full Refiling of Daubert Motions.

        As fully discussed in Plaintiffs’ Memorandum of Law in Support of this

  Motion, the Court should reconsider its order for a full refiling of the parties’

  Daubert Motions because the record does not support it. The Court overlooked the

  following facts and law: (1) recent changes to Federal Rule of Evidence 702 were

  not intended to, and did not, change the law on Daubert; (2) Judge Wolfson’s April

  27, 2020 Daubert Opinion is the law of the case and her Opinion properly applied


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  a preponderance standard; (3) the few new studies that have emerged post-2020 do

  not change the experts’ methodology or the well-reasoned findings in Judge

  Wolfson’s Daubert Opinion; and (4) existing case law does not support a full

  refiling of all Daubert Motions.

        Instead, the Court should limit Daubert motions to the following:

        (1) newly disclosed experts who employed different methodologies than

  addressed by the prior Daubert Order; (2) previously disclosed experts not

  addressed by the prior Daubert Order; and (3) any expert opinions not addressed

  by the prior Daubert Order.

        Plaintiffs respectfully request that the Court grant the Motion Reconsideration

  of the Court’s March 27, 2024 Text Order for a Full Refiling of Daubert Motions.

  A proposed order is attached for the Court’s consideration.



  Dated: April 4, 2024                         Respectfully submitted,

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                                               s/ P. Leigh O’Dell
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                           CERTIFICATE OF SERVICE

        I hereby certify that on April 4, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the CM/ECF participants registered to receive services

  in this MDL.

                                                Respectfully submitted,


                                                s/ Michelle A. Parfitt
                                                Michelle A. Parfitt




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